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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: HONORABLE JANE A. RESTANI, JUDGE



3BTECH, INC.,
                               Plaintiff,
                v.
                                                                Court No. 21-cv-00026
UNITED STATES,
                               Defendant.


                                              ORDER

        Upon consideration of the Joint Proposed Scheduling Order (ECF No. 48), and upon due

deliberation, it is hereby

        ORDERED that the Joint Proposed Scheduling Order is granted; and it is further

        ORDERED that Plaintiff’s combined response to Defendant’s cross-motion for summary

judgment and reply in further support of Plaintiff’s motion for summary judgment is due to be

filed on or before February 14, 2025, and the Rules of this Court shall govern any further deadlines.




                                                  /s/   Jane A. Restani
                                                  ________________________________________
                                                  HON. JANE A. RESTANI, JUDGE

Dated: New York, New York

This 10th day of December, 2024.
